IN THE UNITED STATES DISTRICT COURT

FOR THE MIDDLE DISTRICT OF NORTH CAROLI

UNITED STATES OF AMERICA
%. 1:20CR.2AL-1

 

SHUQIN YIN

The United States Attorney charges:

On or about November 4, 2016, in the County of Forsyth, in the Middle
District of North Carolina, SHUQIN YIN, an alien, cast a vote in an election
held for the priser of electing a candidate for the office of President, Vice
President, Member of the United States Senate, and Member of the United
States House of Representatives; in violation of Title 18, United States Code,
Section 611.

DATED: August 13, 2020

MATTHEW G.T. MARTIN
United States Attorney

srg

STEPHEN T. INVAN
Assistant United States Attorney

 

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